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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 CONSENSYS SOFTWARE INC.,

                                     Plaintiff,

 v.

 GARY GENSLER, Chair of the U.S. Securities                Case No. 4:24-cv-00369-O
 and Exchange Commission; CAROLINE A.
 CRENSHAW, JAIME LIZÁRRAGA, MARK T.
 UYEDA, and HESTER M. PEIRCE, each a
 Commissioner of the U.S. Securities and
 Exchange Commission; and U.S. SECURITIES
 AND EXCHANGE COMMISSION,

                                     Defendants.


                            AMENDED SCHEDULING ORDER

       Before the Court is Defendants’ Motion to Amend the Scheduling Order currently

entered in this case. (ECF No. ____). For the reasons stated in the Defendants’ Memorandum

and Motion, the Court GRANTS the Defendants’ Motion to Amend the Scheduling Order and

ORDERS the following:

       (1) Plaintiff’s Response to the SEC’s Motion to Dismiss or Transfer shall be filed on or
           before August 28, 2024;

       (2) Defendants’ Reply to the Response to the Motion to Dismiss or Transfer shall be filed
           on or before September 11, 2024; and

       (3) The remainder of this case is STAYED pending resolution of the SEC’s Motion to
           Dismiss or Transfer. If necessary, the Court will issue a new scheduling order, on
           motion by the parties following the resolution of the Motion to Dismiss or Transfer.

SO ORDERED on this _____ day of ________, 2024

                                             ___________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE
